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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )           4:08CR3009
                       Plaintiff,                  )
                                                   )
                                                   )       DETENTION ORDER
       vs.                                         )
                                                   )        PETITION FOR
JOHN MICHAEL STEVE BROWN,                          )     ACTION ON CONDITIONS
                                                   )              OF
                       Defendant.                  )      SUPERVISED RELEASE
                                                   )



    Pursuant to 18 U.S.C. § 3142(f) and § 3143(a) of the Bail Reform Act, and Fed. R.
Crim. P. 32.1(a)(6),

IT IS ORDERED,

    The above-named defendant shall be detained until further order, because:

      X      The defendant has failed to meet the burden of showing, by clear and
             convincing evidence pursuant to 18 U.S.C. § 3153 (a) and Fed. R. Crim. P.
             Rule 32.1(a)(6) that defendant is not likely to fail to appear or pose a danger to
             the safety of any person or the community.

             The defendant waived the right to a detention hearing and agreed to detention.


    The Court’s findings are based on the evidence presented in court and that contained
    in the court's records, and includes the following:

    The defendant allegedly used “plant food speed” while in drug treatment or aftercare
    for drug treatment. He therefore poses a risk of harm to others and himself if released.

IT HEREBY IS FURTHER ORDERED:

    The defendant is committed to the custody of the Attorney General for confinement in
a corrections facility; the defendant shall be afforded reasonable opportunity for private
consultation with counsel; and on order of a court of the United States, or on request of an
attorney for the government, the person in charge of the facility shall deliver the defendant
to a United States Marshal for appearance in connection with a court proceeding.

    DATED: May 8, 2012                                     BY THE COURT:


                                                           s/Cheryl R. Zwart
                                                           Cheryl R. Zwart
                                                           United States Magistrate Judge
